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UNITED STATES DISTRICT COURT CAMDEN OFFICE
MARTIN LUTHER KING, JR. USPO & Courthouse

William T. Walsh FEDERAL BLD & U.S. COURTHOUSE 401 Market Street
Clerk 50 WALNUT STREET Camden, N.J. 08104

P.O, BOX 419

NEWARK, N.J. 07101-0419 TRENTON OFFICE

402 East State Street
P.O. Box 515

Trenton, NJ. 08603

REPLY TO: Newark
OFFICE OF THE CLERK a
SUPERIOR COURT OF NEW JERSEY Date: 9/9/08
ESSEX COUNTY
50 West Market Street
Newark, Nod O7102

Re: FAGAN, ETAL V JAFFE, ETAL
Your No.FSX=~L-7205-07
U.S. District Court No. 08-640

Dear Sir/Madam:

Pursuant to Order of Remand entered in above matter, enclosed
please find one Certified copy of Order of Remand and one
Certified copy of docket sheet.

Kindly acknowledge receipt on copy of this letter.

Very truly yours,

William T. Walsh, Clerk

by: Pug Cille Honcho.

e DelleMonache

Deputy Clerk

Enclosure
cc: All counsel/parties

RECEIPT IS ACKNOWLEDGED THIS DAY OF , 199

